      Case 18-15968-jkf       Doc 44    Filed 03/01/19 Entered 03/02/19 00:58:48             Desc Imaged
                                       Certificate of Notice Page 1 of 3
                                      United States Bankruptcy Court
                                    Eastern District of Pennsylvania
In re:                                                                                Case No. 18-15968-jkf
Juanita Cooper                                                                        Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0313-2           User: Jennifer              Page 1 of 2                  Date Rcvd: Feb 27, 2019
                               Form ID: pdf900             Total Noticed: 20


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 01, 2019.
db             +Juanita Cooper,    97 E. Duval St.,    Philadelphia, PA 19144-1921
14194023       +FedLoan Servicing,    Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194036       +First Premier Bank,    Attn: Bankruptcy,    Po Box 5524,   Sioux Falls, SD 57117-5524
14194037        Law Office of Gregory Javardian, LLC,     1510 Industrial Boulevard,   1st Floor, Suite 101,
                 Southampton, PA 18966
14229358        Pinnacle Credit Services, LLC its successors and,     assigns as assignee of Cellco,
                 Partnership d/b/a Verizon Wireless,     Resurgent Capital Services,   PO Box 10587,
                 Greenville, SC 29603-0587
14194039        Target,   Target Card Services,     Mail Stop NCB-0461,   Minneapolis, MN 55440
14272934        U.S. Department of Education,    c/o FedLoan Servicing,    P.O. Box 69184,
                 Harrisburg, PA 17106-9184

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: megan.harper@phila.gov Feb 28 2019 02:40:04       City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,    1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov Feb 28 2019 02:39:46       U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,   Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
cr             +E-mail/PDF: gecsedi@recoverycorp.com Feb 28 2019 02:45:12       Synchrony Bank,
                 c/o PRA Receivables Management, LLC,    PO Box 41021,    Norfolk, VA 23541-1021
14230215        E-mail/PDF: resurgentbknotifications@resurgent.com Feb 28 2019 02:43:59
                 Ashley Funding Services, LLC its successors and,     assigns as assignee of Laboratory,
                 Corporation of America Holdings,    Resurgent Capital Services,    PO Box 10587,
                 Greenville, SC 29603-0587
14194022        Fax: 888-777-2057 Feb 28 2019 02:46:41      CCO Mortgage Corp.,    Attn: Bankruptcy,
                 10561 Telegraph Rd,   Glen Allen, VA 23059
14278709        E-mail/Text: megan.harper@phila.gov Feb 28 2019 02:40:04       City of Philadelphia,
                 Law Department Tax & Revenue Unit,     Bankruptcy Group, MSB,
                 1401 John F. Kennedy Blvd., 5th Floor,    Philadelphia, PA 19102-1595
14194021       +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Feb 28 2019 02:45:14       Capital One,
                 Attn: Bankruptcy,   Po Box 30285,    Salt Lake City, UT 84130-0285
14209454        E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Feb 28 2019 02:43:57
                 Capital One Bank (USA), N.A.,    PO Box 71083,    Charlotte, NC 28272-1083
14195126       +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Feb 28 2019 02:44:34
                 PRA Receivables Management, LLC,    PO Box 41021,    Norfolk, VA 23541-1021
14213217        E-mail/Text: RVSVCBICNOTICE1@state.pa.us Feb 28 2019 02:39:28
                 Pennsylvania Department of Revenue,    Bankruptcy Division P O Box 280946,
                 Harrisburg PA 17128-0946
14216740       +E-mail/Text: JCAP_BNC_Notices@jcap.com Feb 28 2019 02:39:42       Premier Bankcard, Llc,
                 Jefferson Capital Systems LLC Assignee,    Po Box 7999,    Saint Cloud Mn 56302-7999
14194038       +E-mail/PDF: RACBANKRUPTCY@BBANDT.COM Feb 28 2019 02:43:57       Regional Acceptance Co,
                 Attn: Bankruptcy,   1424 E Firetower Rd,    Greenville, NC 27858-4105
14219561        E-mail/PDF: RACBANKRUPTCY@BBANDT.COM Feb 28 2019 02:43:57       Regional Acceptance Corporation,
                 PO Box 1847,   Wilson, NC 27894-1847
                                                                                              TOTAL: 13

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14229345         Citizens Bank, N.A f/k/a RBS Citzens N.A
smg*             Pennsylvania Department of Revenue,    Bankruptcy Division,   P.O. Box 280946,
                  Harrisburg, PA 17128-0946
14194024*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194025*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194026*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194027*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194028*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194029*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194030*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194031*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194032*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194033*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194034*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
14194035*       +FedLoan Servicing,   Attn: Bankruptcy,    Po Box 69184,   Harrisburg, PA 17106-9184
                                                                                             TOTALS: 1, * 13, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
        Case 18-15968-jkf            Doc 44      Filed 03/01/19 Entered 03/02/19 00:58:48                          Desc Imaged
                                                Certificate of Notice Page 2 of 3


District/off: 0313-2                  User: Jennifer                     Page 2 of 2                          Date Rcvd: Feb 27, 2019
                                      Form ID: pdf900                    Total Noticed: 20


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 01, 2019                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 27, 2019 at the address(es) listed below:
              ADAM R. ELGART    on behalf of Creditor   Citizens Bank, N.A. f/k/a Citizens Bank of Pennsylvania
               aelgart@mwm-law.com, mip@mwm-law.com
              BRAD J. SADEK    on behalf of Debtor Juanita Cooper brad@sadeklaw.com, bradsadek@gmail.com
              POLLY A. LANGDON    on behalf of Trustee SCOTT WATERMAN ecfmail@fredreiglech13.com,
               ecf_frpa@trustee13.com
              ROBERT WINFIELD WILLIAMS    on behalf of Creditor   CITIZENS BANK NA f/k/a RBS CITIZENS NA
               bankruptcy@mwm-law.com
              SCOTT WATERMAN     ECFmail@fredreiglech13.com, ECF_FRPA@Trustee13.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM MILLER*R     on behalf of Trustee WILLIAM MILLER*R ecfemail@FredReigleCh13.com,
               ECF_FRPA@Trustee13.com
                                                                                             TOTAL: 7
Case 18-15968-jkf     Doc 44     Filed 03/01/19 Entered 03/02/19 00:58:48               Desc Imaged
                                Certificate of Notice Page 3 of 3
                                81,7('67$7(6%$1.5837&<&2857
                                ($67(51',675,&72)3(116</9$1,$

   ,15(                                                       &KDSWHU

    +6"/*5"$001&3+,'

                          'HEWRUV

            25'(5',60,66,1*&+$37(5&$6($1'6(77,1*'($'/,1()25
             $33/,&$7,216)25$//2:$1&(2)$'0,1,675$7,9((;3(16(6

      $1'12:XSRQFRQVLGHUDWLRQRIWKH0RWLRQWR'LVPLVV&DVHILOHGE\:LOOLDP&0LOOHU
   6WDQGLQJ7UXVWHH³WKH7UXVWHH´DQGDIWHUQRWLFHDQGKHDULQJLWLVKHUHE\25'(5('WKDW

    7KLVFKDSWHUEDQNUXSWF\FDVHLV',60,66('

    &RXQVHOIRUWKH'HEWRUVKDOOILOHDPDVWHUPDLOLQJOLVWZLWKWKH&OHUNRIWKH%DQNUXSWF\&RXUWLI
      VXFKKDVQRWEHHQSUHYLRXVO\ILOHG

    $Q\ZDJHRUGHUVSUHYLRXVO\HQWHUHGDUH9$&$7('

    3XUVXDQWWR86&EWKHXQGLVWULEXWHGFKDSWHUSODQSD\PHQWVLQWKHSRVVHVVLRQRI
      WKH7UXVWHHVKDOOQRWUHYHVWLQWKHHQWLW\LQZKLFKVXFKSURSHUW\ZDVYHVWHGLPPHGLDWHO\EHIRUH
      WKHFRPPHQFHPHQWRIWKHFDVH$OORWKHUSURSHUW\RIWKHHVWDWHVKDOOUHYHVWSXUVXDQWWR86&
      E

    $OODSSOLFDWLRQVIRUDOORZDQFHRIDGPLQLVWUDWLYHH[SHQVHVLQFOXGLQJDSSOLFDWLRQVIRUDOORZDQFHRI
      SURIHVVLRQDOIHHVVKDOOEHILOHGZLWKLQWZHQW\RQHGD\VRIWKHHQWU\RIWKLV2UGHU

    3URPSWO\DIWHUWKHH[SLUDWLRQRIWKHWLPHSHULRGVHWIRUWKLQDERYH&RXQVHOIRUWKH
      'HEWRUVKDOOILOHHLWKHUDD&HUWLILFDWLRQRI1R5HVSRQVHFRQILUPLQJWKDWQHLWKHUDQREMHFWLRQ
      WRWKHSURSRVHGFRPSHQVDWLRQQRUDQDSSOLFDWLRQIRUDGPLQLVWUDWLYHH[SHQVHKDVEHHQILOHGRU
      FHUWLI\WKDWVXFKDSSOLFDWLRQVKDYHEHHQILOHGDIWHUZKLFKWKH&OHUNVKDOOVFKHGXOHDKHDULQJRQ
      DOOVXFKDSSOLFDWLRQV

    ,IQR&HUWLILFDWLRQDVUHTXLUHGDERYHLQ3DUDJUDSKKDVEHHQHQWHUHGRQWKHGRFNHWZLWKLQVL[W\
      WKUHHGD\VRIWKHHQWU\RIWKLV2UGHUWKHQWKH6WDQGLQJ7UXVWHHVKDOODLIDQ\DSSOLFDWLRQV
      IRUDGPLQLVWUDWLYHH[SHQVHVRWKHUWKDQ'HEWRUV¶&RXQVHO¶VKDYHEHHQILOHGUHTXHVWDKHDULQJ
      WKHUHRQRUELIQRVXFKDSSOLFDWLRQVKDYHEHHQILOHGUHWXUQWKHXQGLVWULEXWHGFKDSWHUSODQ
      SD\PHQWVLQKLVSRVVHVVLRQWR'HEWRUVSXUVXDQWWR86&D



   'DWH    'FCSVBSZ
                                                                -($1.),7=6,021
                                                                86%$1.5837&<-8'*(
